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10
                                   IN THE UNITED STATES DISTRICT COURT
11
                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
12
                                         SAN FRANCISCO DIVISION
13

14
      UNITED STATES OF AMERICA,                      Case No.: CR 22–426 JSC
15
                      Plaintiff,                     REPLY IN SUPPORT OF MOTION TO
16                                                   CHANGE VENUE
              v.
17                                                   Court:          Courtroom 8, 19th Floor
      DAVID WAYNE DEPAPE,                            Hearing Date:   July 19, 2023
18
                      Defendant.                     Hearing Time:   10:00 a.m.
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 3 pelosi-attacker-depape-was-in-u-s-illegally/ (last accessed July 12, 2023) ............................................. 3

 4 Jay Barmann, Accused Pelosi Attacker David DePape Enters Plea In Federal Court; LA Times Tries to
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 7 Lawyers Say, S.F. Standard (Jun. 15, 2023), available at https://sfstandard.com/2023/06/15/san-
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 8 2023) ........................................................................................................................................................ 8

 9 Lisa Fernandez, David DePape, alleged Pelosi attacker, was in country illegally, feds say, KTVU Fox
   2, Nov. 3, 2022, available at https://www.ktvu.com/news/ice-seeks-to-deport-david-depape-alleged-
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17 in-the-u-s-illegally-dhs-confirms/3067366/ (last accessed July 12, 2023) .............................................. 8

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 1                                             INTRODUCTION
 2         Defendant David DePape moved to transfer venue based on the pervasive prejudicial pretrial
 3   publicity concerning this case in the San Francisco Bay Area, seeking to move the venue either out of
 4   this District under Federal Rule of Criminal Procedure 21, or at the very least to move this case out of
 5   the Bay Area to the Eureka Division under Federal Rule of Criminal Procedure 18. See Dkt. 41. The
 6   government opposes this motion, primarily arguing that the legal standard under Rule 21 is extremely
 7   high and citing sundry high-profile cases where district courts have not exercised their discretion to
 8   transfer venue out of district. See Dkt. 44. But contrary to the government’s contentions, the
 9   publicity surrounding Mr. DePape and the incident at the Pelosi residence has been particularly
10   inflammatory, and not focused merely on admissible factual evidence, but also delving into
11   inadmissible topics such as his immigration status, and especially inflammatory (and false)
12   allegations that he sexually abused his stepchildren. Further, the release of a recording of a police
13   interrogation of Mr. DePape in which he made incriminating statements, the relatively short span
14   between the events in question and trial, and unique public stature of Nancy Pelosi in San Francisco
15   all further support transferring venue.
16         At the very least, an intradistrict transfer under Rule 18 to the Eureka Division of this Court is
17   required to mitigate the effect of prejudicial pretrial publicity in the Bay Area. The legal showing
18   Mr. DePape is required to make under Rule 18 is much lower, and Dr. Edelman’s survey data
19   confirm that Bay Area (and especially San Francisco Division) prospective jurors have been exposed
20   to more prejudicial publicity and have more detailed knowledge about this case than Eureka Division
21   prospective jurors. And the government’s alternative proposal to transfer this case to the San Jose
22   Division both fails to address Mr. DePape’s core concern about prejudicial pretrial publicity in the
23   Bay Area, and also would entail moving this case to this District’s busiest rather than least busy
24   courthouse. Accordingly, the Court should grant Mr. DePape’s motion to transfer venue.
25                                                ARGUMENT
26   I.    The government overstates the onerousness of the legal standard that applies to venue-
           change motions, especially for intra-district transfers.
27

28         The government argues that the legal standard to transfer venue under Rule 21 based on

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 1   prejudicial pretrial publicity is extremely high, and that such motions are rarely granted. See Dkt. 44
 2   at 8–11. Mr. DePape does not dispute that a substantial showing is required to transfer venue under
 3   Rule 21, but the legal standard is not as insurmountable as the government suggests. Indeed, district
 4   courts have wide discretion to grant such motions, and as argued below, numerous of the relevant
 5   factors identified by the Supreme Court and other courts support granting a venue transfer here. See,
 6   e.g., United States v. Flores-Elias, 650 F.2d 1149, 1150 (9th Cir. 1981) (abuse-of-discretion review
 7   on appeal). Indeed, while much of the appellate case law necessarily involves instances where a
 8   convicted defendant appeals from the denial of a motion to change venue, such motions are routinely
 9   granted in cases with extensive pretrial publicity such as this one, including in matters much less
10   publicized than this one. See Section II.A below (collecting cases).
11         While the government spills much ink on the standard that applies to Rule 21 transfers, it is
12   notably terser in its discussion of the standard for Rule 18 transfers within a judicial district. See Dkt.
13   44 at 11–12. The standard that governs intradistrict transfers of venue is much lower than the
14   standard that applies to interdistrict transfers because there is no competing constitutional interest
15   rooted in the Sixth Amendment’s Vicinage Clause or Article III’s Venue Clause entailed in moving a
16   case from one courthouse to another within the same judicial district. See Dkt. 41 at 3–5; U.S.
17   Const., Art. III, § 2, cl. 3; amend. VI; see also Smith v. United States, 143 S. Ct. 1594, 1604–05
18   (2023) (explaining Vicinage and Venue Clauses). Whether the government agrees or disagrees with
19   this proposition is unclear. In a discursive footnote, the government suggests that Mr. DePape relies
20   only on a single case from then-District Judge Mendoza from the Eastern District of Washington for
21   this proposition, but does not articulate a clear alternative view. See Dkt. 44 at 23 n.12. Judge
22   Mendoza’s opinion, however, is well-reasoned and is rooted in the fact that intradistrict transfers do
23   not implicate the constitution’s requirement that a defendant be tried in a particular judicial district,
24   unlike a motion for an interdistrict transfer. See United States v. Cloud, 2021 WL 9406685, at *1–*2
25   (E.D. Wash. Dec. 14, 2021). The government does not dispute this reasoning. See Dkt. 44 at 11–12.
26         Further, contrary to the government’s suggestion, many other courts agree with Judge Mendoza
27   that the standard for an intradistrict transfer is lower than for an interdistrict transfer, having denied
28   defendants’ motions for interdistrict transfers based on pretrial publicity under the Rule 21 standard,

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 1   but granting intradistrict transfers under Rule 18. See, e.g., United States v. Joyce, 2008 WL
 2   2367307, at *2–*4 (W.D. Pa. June 10, 2008) (collecting cases where district courts denied
 3   interdistrict transfers under the Rule 21 standard but granted intradistrict transfers under the Rule 18
 4   standard); see also United States v. Cortez, 251 F.R.D. 237, 237–38 (E.D. Tex. 2007). Obviously, if
 5   the legal standard were the same for both types of transfers, these courts would not have denied an
 6   interdistrict transfer based on prejudicial pretrial publicity while granting an intradistrict transfer on
 7   the same basis. See Joyce, 2008 WL 2367307, at *3 (“Several courts have denied Rule 21(a) motions
 8   for transfer outside of the district, while allowing a transfer within the district to a different
 9   division.”).
10   II.   Extensive pretrial publicity in the Bay Area requires transferring venue to protect Mr.
           DePape’s right to a fair trial.
11
                 A.    The media coverage of this case has been extensive, prejudicial, and often
12         inflammatory.
13         The government also argues that Mr. DePape will not be prejudiced because it characterizes the
14   media coverage of this matter as primarily factual and not prejudicial. See Dkt. 44 at 13–16. Not so.
15   In addition to the media coverage characterizing Mr. DePape as a bigot, there has also been media
16   coverage highlighting other prejudicial information about Mr. DePape that would not be admissible
17   at trial. For example, many local media outlets, including the Chronicle and all four major broadcast
18   networks, have reported that Mr. DePape is illegally residing in the United States. See, e.g., Rachel
19   Swan, ICE wants to deport Pelosi attack suspect to Canada. D.A. Brooke Jenkins says S.F. won’t
20   turn him over, S.F. Chron., Nov. 3, 2022, available at https://www.sfchronicle.com/bayarea/article/
21   paul-pelosi-attack-suspect-david-depape-could-be-17556136.php (last accessed July 12, 2023); Luz
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24   depape-in-us-illegally-deportation-charges/12412765/ (last accessed July 12, 2023); Federal
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26   2022, available at https://www.cbsnews.com/sanfrancisco/news/fed-immigration-officials-say-
27   pelosi-attacker-depape-was-in-u-s-illegally/ (last accessed July 12, 2023); Lisa Fernandez, David
28   DePape, alleged Pelosi attacker, was in country illegally, feds say, KTVU Fox 2, Nov. 3, 2022,

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 1   available at https://www.ktvu.com/news/ice-seeks-to-deport-david-depape-alleged-pelosi-attacker-
 2   to-canada (last accessed July 12, 2023); Suspect in Paul Pelosi Beating Is in the U.S. Illegally, DHS
 3   Confirms, NBC Bay Area, Nov. 3, 2022, available at https://www.nbcbayarea.com/news/local/san-
 4   francisco/suspect-in-paul-pelosi-beating-is-in-the-u-s-illegally-dhs-confirms/3067366/ (last accessed
 5   July 12, 2023); Declaration of Angela Chuang (Chuang Decl.) Exs. A–E.
 6         Further, according to these media reports, this prejudicial information about Mr. DePape’s
 7   immigration status was intentionally released to the public by the federal government, i.e., by a
 8   Department of Homeland Security official spokesperson. See, e.g., Maria Sacchetti, Immigration
 9   officials confirm alleged Pelosi attacker was in the U.S. illegally, Wash. Post, Nov. 3, 2022,
10   available at https://www.washingtonpost.com/national-security/2022/11/03/pelosi-attacker-david-
11   depape/ (last accessed July 12, 2023) (“‘U.S. Immigration and Customs Enforcement (ICE) lodged an
12   immigration detainer on Canadian national David DePape with San Francisco County Jail, Nov. 1,
13   following his Oct. 28 arrest,’ DHS officials said in an email.”); Chuang Decl. Ex. F; see also Chuang
14   Decl. Ex. E (“The man suspected of attacking Speaker Nancy Pelosi’s husband in their San Francisco
15   home last week is in the United States illegally, a Department of Homeland Security spokesperson
16   confirmed Thursday.”). When the government is responsible for the dissemination of prejudicial
17   information, courts weigh this factor in favor of granting a change of venue. See, e.g., United States
18   v. Diehl-Armstrong, 739 F. Supp. 2d 786, 798 (W.D. Pa. 2010) (collecting cases). Mr. DePape’s
19   immigration status has no conceivable relevance at trial, and is highly prejudicial. See, e.g., Salas v.
20   Hi-Tech Erectors, 230 P.3d 583, 586 (Wash. 2010) (collecting cases).
21         Even more concerning, there have also been extremely prejudicial (and false) media reports
22   that Mr. DePape sexually abused his stepchildren, which have been reported in Bay Area media. See,
23   e.g., Jay Barmann, Accused Pelosi Attacker David DePape Enters Plea In Federal Court; LA Times
24   Tries to Explain His Radicalization, SFist (Nov. 15, 2022), available at https://sfist.com/2022/11/15/
25   accused-pelosi-attacker-david-depape-enters-plea-in-federal-court-la-times-tries-to-explain-his-
26   radicalization/ (last accessed July 11, 2023) (stating that Mr. DePape’s alleged “obsession” with
27   Jeffry Epstein “seems ironic given what [DePape’s] stepdaughter . . . wrote about DePape in the days
28   after his arrest, on her Facebook page,” i.e., that Mr. DePape was “physically and sexually abusing

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 1   me and my brothers, which started when we were very young and continued until around 2008”); see
 2   also Mary Kay Linge, ‘PELOSI’ WACKO A ‘SEX ABUSER’ Stepdaughter’s accusation, N.Y. Post,
 3   Oct. 30, 2022, at 9 (“The loon accused of attacking Paul Pelosi with a hammer was a ‘monster’ who
 4   sexually abused his kids, his stepdaughter alleged Saturday.”); Chuang Decl. Exs. G & H. Needless
 5   to say, false and unsubstantiated allegations of child sexual abuse and incest are highly inflammatory
 6   and not at all probative to the charged offense here. Thus, contrary to the government’s contention,
 7   the Bay Area media coverage of this case has been far from limited to admissible evidence, creating a
 8   substantial risk of prejudice and warranting a transfer of venue.
 9         The government also suggests that because Mr. DePape is “a previously low-profile defendant”
10   that he would encounter a better chance at a fair trial than a laundry list of high-profile defendants
11   whose motions to change venue were denied. 1 See Dkt. 44 at 18. First, while Mr. DePape was not
12   previously a public figure, he surely is one now, which is the relevant inquiry. (Also, most of the
13   defendants mentioned in the government’s brief were also not well known until charged with serious
14   crimes.) Second, Mr. DePape’s case is different and dissimilar to those cited by the government
15   because of the unique stature of his alleged victims, especially Nancy Pelosi. Third, all of the cases
16   cited by the government involved only Rule 21 motions for interdistrict transfers, not intradistrict
17   transfers, which are subject to a more lenient legal standard.
18         Fourth, Mr. DePape can likewise point to numerous federal cases where motions to change
19   venue were granted, in obscure cases far less high-profile than this one:
20
               •   False-statements case where defendant was subject to media coverage related to his
21                 separate conviction for murder in another matter. See United States v. Casellas-Toro,
                   807 F.3d 380, 382–85, 390 (1st Cir. 2015) (reversing denial of interdistrict transfer).
22
               •   Bank fraud case involving Arab-American print-shop owner who damaged his own
23                 business and falsely claimed to be the victim of a hate crime. See United States v.
24                 Maad, 75 F. App’x 599, 600 (9th Cir. 2003) (reversing denial of intradistrict transfer).

25
     1
       The Patty Hearst case cited by the government is inapposite. The issue of prejudicial pretrial
26   publicity arose only in the context of her 28 U.S.C. § 2255 motion, and she had never filed any
     pretrial motion to transfer venue. The court thus found the prejudicial-publicity issue waived and did
27   not reach the merits. See United States v. Hearst, 466 F. Supp. 1068, 1074 (N.D. Cal. 1978), aff'd in
     part, vacated in part, 638 F.2d 1190 (9th Cir. 1980) (“It is unnecessary for the Court to consider the
28   merits of petitioner’s arguments [concerning prejudicial pretrial publicity], for her failure to raise
     them prior to trial or on appeal precludes relitigation here.”).
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 1
               •   Fraud case arising out of collapse of several savings and loan institutions. See United
 2
                   States v. Faulkner, 17 F.3d 745, 754–55 (5th Cir. 1994) (interdistrict transfer was
 3                 granted).

 4             •   Homicide on Yakima Nation Reservation in rural Eastern Washington. See United
                   States v. Cloud, No. 1:19-CR-02032-SMJ-1, 2021 WL 9406685, at *1 (E.D. Wash. Dec.
 5                 14, 2021) (granting intradistrict transfer).
 6
               •   North Dakota oil patch worker involved in murder for hire of Spokane businessman.
 7                 See United States v. Henrikson, 2:14-CR-0124-SMJ, 2015 U.S. Dist. LEXIS 170829, at
                   *18–*21 (E.D. Wash. Dec. 22, 2015) (granting intradistrict transfer).
 8
               •   A federal inmate charged with killing a prison guard at USP Atwater. See United States
 9                 v. Sablan, No. 1:08-CR-00259-PMP, 2014 WL 7335210, at *1 (E.D. Cal. Dec. 19,
10                 2014) (granting interdistrict transfer).

11             •   Methamphetamine distribution case with recent publicity about defendant’s violent
                   background. See United States v. Saya, 980 F. Supp. 1157, 1158–60 (D. Haw. 1997)
12                 (granting interdistrict transfer).
13
               •   Racketeering, money laundering, and drug conspiracy case involving a defense lawyer
14                 and former prosecutor who worked for a criminal enterprise. United States v. Tokars,
                   839 F. Supp. 1578, 1579–80 (N.D. Ga. 1993), aff’d, 95 F.3d 1520 (11th Cir. 1996)
15                 (granting interdistrict transfer).

16         The government further suggests that because no one died or suffered financial ruin, a venue

17   change is not warranted. See Dkt. 44 at 18. The distinction the government draws here is not

18   significant. While thankfully no one died in this case, the offense Mr. DePape is charged with is still

19   a very serious and violent offense, and certainly one that arouses the public’s passion to a similar or

20   greater degree as those cited above and by the government, especially because this case involves a

21   prominent political figure and strongly held political beliefs.

22                B.     The release and broadcast of Mr. DePape’s police interrogation supports
           transferring venue.
23

24         The government concedes, as it must, that the Supreme Court has consistently held that the

25   release of a recording of a defendant’s police interrogation in which the defendant makes

26   incriminating statements is a factor supporting transfer of venue. See Dtk. 44 at 19; see also, e.g.,

27   Skilling v. United States, 561 U.S. 358, 383 (2010) (““The defendant’s own confession is probably

28   the most probative and damaging evidence that can be admitted against him.”) (cleaned up) (quoting

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 1   Parker v. Randolph, 442 U.S. 62, 72 (1979) (plurality opinion)). And the government does not
 2   dispute that the local media widely reported on and broadcast Mr. DePape’s post-arrest interrogation
 3   by San Francisco police officers. Instead, the government draws a series of factual distinctions
 4   between Mr. DePape’s statement here and the statement that was broadcast in Rideau v. Louisiana,
 5   373 U.S. 723 (1963). See Dkt. 44 at 19–20. But many of the distinctions cited by the government,
 6   like the relative size of the jury pool or the passage of time between the publicity and trial, simply
 7   amount to the government pointing to separate factors in the analysis. See Skilling, 561 at 382–83
 8   (analyzing separately the prejudicial nature of a confession from the size of the jury pool and the
 9   passage of time). And while San Francisco in the early 2020s is certainly a very different place than
10   the Deep South in the early 1960s, the Supreme Court has continued to reiterate in the intervening
11   decades that media reporting on a defendant’s confession alone is uniquely incriminating and weighs
12   in favor of a venue change. See id.
13               C.    Insufficient time has passed to mitigate the prejudice from the
           inflammatory publicity in this case, which will only increase as this trial approaches.
14

15         The government argues that sufficient time will have elapsed between the media coverage

16   highlighted in Mr. DePape’s moving papers—which was generally concentrated right after the events

17   in question in October and November of 2022, and after the state court preliminary hearing and

18   subsequent release of the video and audio recordings of the break-in, alleged assault, 911 call, and

19   Mr. DePape’s interrogation in January of this year—to dissipate any prejudice from that coverage.

20   See Dkt. 44 at 21–22. First, the government’s argument rests on a faulty premise, i.e., that the

21   relative decline in media coverage of this case over the last few months will continue as the trial

22   nears. Of course, the initial local media coverage was especially high in the days and weeks after the

23   incident at the Pelosi residence. But the subsequent greatest period of local media coverage was

24   following the state court preliminary hearing, and the release of audio and video recordings that were

25   played at that hearing. See, e.g., Edelman Decl. Ex. C.

26         Although Mr. DePape’s public legal proceedings have been in a relative lull over the past few

27   months, this will of course change as the trial approaches, and prejudicial local media coverage will

28   surely increase as pretrial motions are litigated, hearings are held, etc. Indeed, even the filing of the

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 1   instant motion—a dry bit of legal prose—triggered local media coverage. See, e.g., Jonah Owen
 2   Lamb, San Francisco Too Liberal To Give Paul Pelosi’s Alleged Attacker Fair Trial, Lawyers Say, 2
 3   S.F. Standard (Jun. 15, 2023), available at https://sfstandard.com/2023/06/15/san-francisco-too-
 4   liberal-to-give-paul-pelosis-alleged-attacker-fair-trial-lawyers-say/ (last accessed July 11, 2023).
 5   Thus, as the case nears trial, the level of prejudicial local media coverage will only increase. And
 6   courts have granted venue changes based on ongoing prejudicial pretrial publicity, including
 7   coverage of the legal twists and turns of cases lasting as long as five years. See, e.g., United States v.
 8   Ebens, 654 F. Supp. 144, 144 (E.D. Mich. 1987) (granting interdistrict transfer based on “the
 9   saturation publicity which has surrounded this case for five years and continues” for the second trial
10   in a case where the first conviction had been reversed on appeal).
11           Second, even accepting the government’s faulty premise that prejudicial publicity will not
12   continue or increase as this case approaches trial, the case law on venue changes and prejudicial
13   pretrial publicity, including cases cited by the government itself, does not support the government’s
14   contention that the interval between the prior period with the highest concentration of media coverage
15   in this case so far—from October 2022 to January 2023—and the November 2023 trial date is
16   sufficiently long to have attenuated the pervasive prejudice to the local venire. The leading Supreme
17   Court cases that have cited the passage of time as a relevant factor in reducing the levels of prejudice
18   all involved multi-year intervals between the prejudicial media coverage and the trial. See, e.g.,
19   Skilling v. United States, 561 U.S. 358, 383 (2010) (4-year period between Enron’s collapse and
20   Skilling’s trial); Patton v. Yount, 467 U.S. 1025, 1027 (1984) (4-year interval between publicity at
21   first trial and second trial). While a handful of Ninth Circuit cases cited by the government have
22   involved relatively short intervals, some of those cases involved the Ninth Circuit reviewing the
23   decisions of state courts in collateral habeas corpus proceedings, under the highly deferential standard
24   under the Antiterrorism and Effective Death Penalty Act (AEDPA) or its predecessor statutes. See 28
25   U.S.C. § 2254(d); Casey v. Moore, 386 F.3d 896, 909 (9th Cir. 2004) (affirming denial of habeas
26   petition because state court’s ruling on change of venue “was not unreasonable or contrary to clearly
27

28
     2
         This headline inaccurately characterizes the argument contained in Mr. DePape’s motion.
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 1   established federal law” under ADEPA); Harris v. Pulley, 885 F.2d 1354, 1361 (9th Cir. 1988)
 2   (affirming denial of § 2254 habeas petition under pre-AEDPA standard, which entailed presuming all
 3   factual determinations by the state court were correct). Such Ninth Circuit decisions refusing to
 4   overturn state court decisions on collateral review provide minimal guidance for this Court.
 5                D.       Nancy Pelosi’s unique prominence in San Francisco supports transferring
           the venue.
 6

 7         The government argues that Nancy Pelosi’s prominence in San Francisco is irrelevant to
 8   whether to transfer venue. See Dkt. 44 at 22–23. The government primarily relies on United States
 9   v. Croft, where the Ninth Circuit found no abuse of discretion when a district court denied a motion
10   to change venue, in a case involving followers of the religious leader Bhagwan Shree Rajneesh
11   attempting to kill Oregon’s United States Attorney in the 1980s. See 124 F.3d 1109, 1115–16 (9th
12   Cir. 1997). The government vastly overstates the similarities to this case. First, the public opinion
13   polling in that case indicated only that 90% of Oregonians had heard of “Rajneeshpuram,” i.e., the
14   religious community in rural Oregon where followers of Rajneesh gathered, not that 90% of
15   Oregonians had heard of the two specific defendants who appealed the denial of the venue motion in
16   Croft. See id. at 1115. Further, the opinion poll’s questions about whether Oregonians thought the
17   indicted conspirators were guilty asked only about all the indicted conspirators generally, not about
18   the two specific conspirators challenging the venue motion, a fact the Ninth Circuit relied on in
19   discounting the salience of the poll. See id. More importantly, most of the media attention in that
20   case focused on the more culpable defendants like Rajneesh himself and his chief lieutenant Ma
21   Anand Sheela, not the two less culpable (and less prominent) codefendants who went to trial in
22   Croft. 3 See id. The government omits this important context; in contrast to that case, here Mr.
23   DePape is the only person charged in this matter, all media attention has been focused on him alone
24   as the sole alleged perpetrator of the offense, and Dr. Edelman’s polling asked specifically about Mr.
25   DePape.
26         Second, contrary to the government’s legal contention, Croft, although it happened to involve a
27

28   3
       The prejudicial news stories were also over 10 years old by the time of trial, a far longer interval
     than the mere months that have elapsed here. See Croft, 124 F.3d at 1115.
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 1   United States Attorney as the victim, does not stand for the general proposition that the prominence
 2   of the victim in a case should not be considered in a venue-change motion. See id. at 1115–16. To
 3   the contrary, courts will consider the public stature of the victim in determining whether to transfer
 4   venue. For example, in a tragic case involving the murder of a sitting Eleventh Circuit judge and a
 5   Savannah, Georgia alderman in 1989, the district court granted the defendant’s motion to transfer
 6   venue out of the Northern District of Georgia and to the District of Minnesota. See United States v.
 7   Moody, 762 F. Supp. 1485, 1486–90 (N.D. Ga. 1991). In granting the motion to transfer venue based
 8   on prejudicial pretrial publicity in Atlanta, the court focused extensively on the unique nature of a
 9   case involving victims who were high-profile public figures, in particular a federal judge, and also
10   noting that all the judges in the Northern District of Georgia had recused themselves. 4 See id. Here,
11   much like in Moody, Mr. DePape has been the subject of such extensive media attention precisely
12   because he is charged with violent offenses against a prominent federal official and her husband. See
13   id. If Mr. DePape were charged with attempting to kidnap Nancy Doe, and with assaulting her
14   husband Paul Doe, we would not be in this situation. Nancy Pelosi’s prominence—as the former
15   Speaker of the House and a long-serving San Francisco Congressperson—is arguably greater than
16   that of a federal judge or a local alderman who were the victims in Moody, or a United States
17   Attorney, as in Croft. See id.; Croft, 124 F.3d at 1113.
18         Third, holding the trial in San Francisco also presents the unique problem that a substantial
19   portion of the jury pool will themselves be personally represented by Nancy Pelosi in Congress, with
20   any long-time San Francisco residents having been represented by her for decades. This creates yet
21   another unique reason to presume prejudice here. 5 Indeed, when jurors are represented in Congress
22   by the alleged victim of a crime, it is unrealistic to ask them to set aside their views about their own
23

24
     4
      The judge originally assigned to this case likewise summarily recused himself, presumably because
25   of some personal connection to the Pelosis. See Dkt. 6.
26   5
      The government states that Mr. DePape did not raise this argument, see Dkt. 44 at 23 n.11, but he
     wishes to clarify that he is indeed raising the argument that Pelosi’s representing a substantial portion
27   of the San Francisco jury pool in Congress amounts to another form of presumed prejudice. The
     government has already addressed this issue in its briefing (stating that an intradistrict transfer to San
28   Jose would cure this problem), see id., but Mr. DePape would not object to the government’s filing a
     surreply on this issue should it wish to address it further.
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 1   Congressperson, particularly a long-serving Congressperson routinely reelected by wide margins,
 2   when called to serve as jurors. See United States v. Poludniak, 657 F.2d 948, 960 (8th Cir. 1981)
 3   (Lay, J., dissenting) (“Senator Tom Eagleton represented all the potential jurors drawn from the
 4   general electorate in the State of Missouri. . . . Each of the potential jurors belonging to the general
 5   electorate had undoubtedly formed before the trial a personal impression of Senator Eagleton based
 6   upon the Senator’s many years of service to Missouri. In my judgment it was clear error for the trial
 7   court to assume that potential jurors could fully set aside these impressions in a trial where the
 8   Senator was a central figure. Such an assumption is totally unrealistic.”).
 9   III. At the very least, an intra-district transfer to the Eureka Division of this Court is
          required.
10

11         The government also argues that an intradistrict transfer is unwarranted because Mr. DePape,

12   the victims and witnesses, counsel for both parties, and the Court are located in San Francisco. See

13   Dkt. 44 at 23–24. Of course, Mr. DePape’s location is of no moment: he is incarcerated and the

14   United States Marshals will ensure his presence at trial no matter where it is held. The government’s

15   concern about the convenience of defense counsel is misplaced as the defense is in fact seeking a

16   venue change and will not be inconvenienced by one. Nor is consideration of the convenience of the

17   government a valid factor to consider under Rule 18. See United States v. Dickie, 775 F.2d 607, 610

18   (5th Cir. 1985) (“The convenience of the prosecution, however, is not a factor to consider in changing

19   venue.”). While moving the trial to Eureka would entail some degree of inconvenience to the Court

20   and witnesses, the inconvenience would not be substantial. The Eureka courthouse is only a five-

21   hour drive from San Francisco, and the trial itself is unlikely to be lengthy, involving only two

22   charges and fairly straightforward allegations.

23         More importantly, any inconvenience to the witnesses or the Court is outweighed by the danger

24   posed by the San Francisco jury pool’s exposure to greater prejudicial pretrial publicity, particularly

25   given the relatively lenient “interest of justice” standard that applies to Rule 18 motions to transfer.

26   See Dkt. 41 at 11–14. Indeed, Dr. Edelman’s survey showed, and the government does not dispute,

27   that prospective jurors in Eureka have much lower level of detailed familiarity with this case than San

28   Francisco jurors, with 55% of San Francisco jurors recognizing four or more details about this case,

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 1   and only 37% of Eureka jurors having the same level of knowledge. See Edelman Decl. at 30.
 2         The government suggests that any intradistrict transfer should be to the San Jose Division
 3   rather than the Eureka Division. See Dkt. 44 at 24. But it hardly makes sense to transfer this case to
 4   the San Jose Division, which is by far the busiest division in this District. Indeed, this Court has
 5   recently reassigned numerous criminal cases—including a massive, multi-defendant racketeering
 6   prosecution—out of the San Jose Division to the Oakland Division because of the onerous caseloads
 7   in that location; and the Court also recently reassigned one active judgeship from San Francisco to
 8   San Jose due to high caseloads in the San Jose Division. See, e.g., United States v. Cervantes, No.
 9   21-cr00358-YGR, Dkt. 153 (N.D. Cal. Nov. 15, 2021).
10         The Eureka Division, by contrast, is by far the least busy division within this Court. Indeed,
11   based on review of the upcoming calendar of the sole magistrate judge based in Eureka, hearings are
12   held in the Eureka Division only one or two days a week, the majority of which are held
13   telephonically. See Chuang Decl. Ex. I; see also Calendar for: Magistrate Judge Robert M. Illman,
14   available at https://apps.cand.uscourts.gov/CEO/cfd.aspx?71Bx (last accessed July 12, 2023). Thus,
15   a heavy caseload in Eureka would not preclude holding Mr. DePape’s trial there. The government
16   also suggests that the San Francisco courthouse would be more capable of handling “the logistics and
17   security for what will likely be a high-profile trial.” See Dkt. 44 at 24. The government’s security
18   concerns are unwarranted. The Eureka Division courthouse, like all federal courthouses, is ably
19   protected by the United States Marshals Service. And by moving the trial away from San Francisco
20   (or San Jose), the degree of public focus on the trial, and the potential circus-like atmosphere that Mr.
21   DePape fears will surround it, will be mitigated by leaving the Bay Area. Additionally, while voir
22   dire in this case will certainly be longer than usual, the trial itself is unlikely to be lengthy, lasting
23   only a few days and almost certainly under a week, further mitigating any inconvenience to the Court
24   posed by an intradistrict transfer to Eureka.
25         More importantly, transfer to the San Jose Division does not address Mr. DePape’s serious
26   concerns about pervasive prejudicial pretrial publicity in the Bay Area media market, as San Jose and
27   San Francisco are part of the same media market, unlike Eureka. Further, substantially lower
28   numbers of eligible jurors surveyed in the Eureka Division had been exposed to detailed media

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 1   coverage about Mr. DePape and the incident at the Pelosi residence than in the Bay Area. For
 2   example, 38% of those surveyed in the San Francisco Division had actually seen the video footage of
 3   Mr. DePape entering the Pelosi home or of the hammer strike, while only 28.4% of potential jurors in
 4   Eureka had seen the footage. See Edelman Supp. Decl. ¶ 25. While the number of jurors in San Jose
 5   who had seen this footage was also lower in San Jose at 29.9%, substantially higher numbers of
 6   prospective jurors in both San Jose and San Francisco had read or heard media descriptions of these
 7   videos. Specifically, 50% of prospective San Francisco jurors had read or heard about the footage of
 8   Mr. DePape breaking into the Pelosi residence with a hammer, with that number being 49% in San
 9   Jose, and only 37.4% in Eureka. See id. ¶ 27. Likewise, 51.6% of prospective San Francisco jurors
10   had read or heard about the footage of the Paul Pelosi being struck in the head with a hammer, with
11   that number being 50.3% in San Jose, and only 39.4% in Eureka. See id. at ¶ 28.
12         Further, higher percentages of jurors in the Bay Area are familiar with details surrounding the
13   charges in Count 1, the alleged attempted kidnapping of Nancy Pelosi. Specifically, when asked if
14   they had read, seen, or hear if Mr. DePape told investigators that he planned to hold Nancy Pelosi
15   hostage and break her kneecaps if she did not tell him the truth, 45.8% of prospective San Francisco
16   jurors were familiar with this detail, while 38.1% of San Jose jurors were, and 34.2% of Eureka jurors
17   were. See Edelman Supp. Decl. ¶ 23. In sum, under the more liberal “interest of justice” standard
18   under Rule 18 and Local Rule 18-1, the Court should at the very least transfer venue to the Eurka
19   Division based on pervasive prejudicial pretrial publicity in the Bay Area. See, e.g., United States v.
20   Mase, 556 F.2d 671, 675–76 (2d Cir. 1977) (“We think that transferring the second trial to Hartford
21   was an appropriate way to accommodate the public’s right to a speedy and public trial with the
22   defendant’s right to a fair trial.”).
23                                                CONCLUSION
24         The Court should grant Mr. DePape’s motion to transfer venue.
25

26

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 2
      Dated:     July 12, 2023                         Respectfully submitted,
 3
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 5
                                                                 /S
 6                                                     ANGELA CHUANG
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